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                  Exhibit C
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                        UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                            BROWNSVILLE DIVISION

SPACE EXPLORATION
TECHNOLOGIES CORP.,
      Plaintiff,                             Civil Action No. 1:24-cv-00001
             v.
NATIONAL LABOR RELATIONS
BOARD, a federal administrative agency,
JENNIFER ABRUZZO, in her official
capacity as the General Counsel of the
National Labor Relations Board, LAUREN
M. McFERRAN, in her official capacity as
the Chairman of the National Labor
Relations Board, MARVIN E. KAPLAN,
GWYNNE A. WILCOX, and DAVID M.
PROUTY, in their official capacities as
Board Members of the National Labor
Relations Board, and JOHN DOE in his
official capacity as an Administrative Law
Judge of the National Labor Relations
Board,
      Defendants.



           DECLARATION OF GWYNNE SHOTWELL IN SUPPORT OF
            PLAINTIFF’S OPPOSITION TO MOTION TO TRANSFER
     Case 1:24-cv-00001 Document 64-3 Filed on 02/01/24 in TXSD Page 3 of 3




       Pursuant to 28 U.S.C. § 1746, I, Gwynne Shotwell, declare as follows:

       1.      I am the President and Chief Operating Officer at Space Exploration

Technologies Corp. (“SpaceX”).

       2.      My primary place of employment is SpaceX’s Rocket Development and Test

Facility located in McGregor, Texas.

       3.      A true and correct copy of an email I drafted and sent an email to Paige Holland-

Thielen on June 15, 2022 is attached as Exhibit A.

       4.      A true and correct copy of an email I drafted and sent an email to all SpaceX

personnel at all SpaceX facilities, including its Texas facilities, on June 16, 2022 is attached as

Exhibit B.

       5.      I was located in McGregor, Texas on June 15 and June 16, 2022.



       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

       Executed on January 20, 2024, in Jonesboro, Texas



                                                      ________________________________
                                                      Gwynne Shotwell




                                                  2
